                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS

IN RE:

       Mark H Engen
       Maureen E Engen

                       Debtors,                              Case No: 15-20184

  TRUSTEE’S MOTION TO RECONSIDER ORDER CONDITIONALLY GRANTING
      DEBTORS' MOTION TO RETAIN POST-PETITION INHERITED 401K

       COMES NOW the Chapter 13 Trustee, W. H. Griffin, and hereby moves the Court for
an Order granting the Trustee's Motion to Reconsider the Order Conditionally Granting the
Debtors' Motion to Retain their Post-Petition Inherited 401k. In support of this Motion, the
Trustee presents the following:


       1. Debtors filed their bankruptcy petition, plan and schedules on February 4, 2015.

       2. The plan was amended on May 4, 2015 (doc #25).

       3. The Trustee filed an Objection to Confirmation (doc #27) on May 5, 2015. The Trustee

Objected to Confirmation based on the Debtors' proposal to specially classify their student loan

creditors. The parties briefed the case on October 7, 2015 (doc 39) and October 12, 2015 (doc

#41). The issue is currently under advisement and the plan has not been confirmed.

       4. Debtors filed a Motion for Approval to Retain Proceeds from an Inherited 401(k) Plan

in order to meet ongoing expenses on August 7, 2016 (doc #62).

       5. Per the Debtors' Motion for Approval to Retain, Mrs. Engen's father passed away,

leaving an estate, including a 401(k) plan in the amount of $73,269.34. The Debtors stated that

they needed the extra income from the inherited 401(k) to "defray living expenses now being

deferred by their rather substantial plan payment, as well as to assist in educational expenses

while their children enroll in college at the University of Kansas at Lawrence."




                 Case 15-20184       Doc# 70      Filed 11/01/16     Page 1 of 4
        6. The Trustee filed an Objection to the Motion on August 29, 2016 (doc #64). The

Trustee objected to the Debtors keeping the full amount of the inheritance and in the alternative,

if the Debtors were allowed to keep the inheritance, the Trustee requested that the appropriate

taxes be withheld.

        7. On September 13, 2016, at a non-evidentiary hearing, the Court approved the Motion

and allowed the Debtors to retain all of the 401k distribution. The Court also ordered the Debtors

to pay the estimated taxes on the inheritance and provide proof to the Trustee. No evidence was

provided with regard to the expenses and the need for the extra income.

        8. The original Schedule J filed by the Debtors, already includes an educational expense

of $900 per month.

        9. On September 20, 2016, the Trustee's office emailed the Debtors' attorney, following

up on the status of the Order. The Trustee office also advised the Debtors' attorney that a motion

to reconsider would be filed.

        10. An Order Conditionally Granting the Motion was entered October 19, 2016 (doc

#68).

        11. The Trustee is filing this Motion to Reconsider and is requesting an evidentiary

hearing so that evidence can be provided with regard to the Debtors' need for the inheritance and

possibly brief the issue. In addition, the Trustee is requesting that the Debtors' be prohibited from

spending the proceeds until this matter is resolved.

        12. The Trustee requests evidence of the expenses purported but not proven as they

appear inconsistent with the Schedules initially filed. In addition, the Trustee is requesting

documentation of the educational expenses, including tuition, books, fees, living expenses




                 Case 15-20184        Doc# 70      Filed 11/01/16     Page 2 of 4
(including any sororities pledged) and other related educational expenses. Lastly, the Trustee is

requesting bank statements from August 1, 2015 through October 31, 2016 (15 months).




       WHEREFORE, the Chapter 13 Trustee prays that the Court grant the Trustee's Motion
to Reconsider, the Trustee's request for an evidentiary hearing, and prohibit the Debtors from
spending the proceeds until the issue is resolved.




                                      Respectfully submitted by:
                                      s/W. H. Griffin, Chapter 13 Trustee
                                      ____________________________
                                      W. H. GRIFFIN, #08060, TRUSTEE
                                      5115 Roe Blvd, Ste 200
                                      Roeland Park, KS 66205
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                                      (913) 432-7857 (Fax)
                                      inquiries@13trusteekc.com




                                 CERTIFICATE OF MAILING

        I, the undersigned, do hereby certify that a true and attested copy of the above and
foregoing Motion has been forwarded to the following either electronically or by U.S. Mail, first
class postage prepaid, on November 1, 2016:

Mark H Engen
Maureen E Engen
7905 W. 96th Street
Overland Park, KS 66212




                 Case 15-20184       Doc# 70         Filed 11/01/16   Page 3 of 4
David A. Reed
7823 Parallel Parkway
Kansas City, KS 66112

Clerk of the Bankruptcy Court
500 State Avenue
Kansas City, Kansas 66101
                                      s/W. H. Griffin, Chapter 13 Trustee
                                      ____________________________
                                      W. H. GRIFFIN, #08060, TRUSTEE




                Case 15-20184   Doc# 70   Filed 11/01/16   Page 4 of 4
